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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       Case No. 1:21-cr-00159-ABJ
               v.                            :
                                             :
CLEVELAND GROVER                             :
MEREDITH, JR.,                               :
                                             :
                       Defendant.            :


            JOINT MOTION AND SUPPORTING MEMORANDUM REGARDING
             TRANSFER OF OWNERSHIP AND POSSESSION OF PROPERTY

       The United States of America, by and through its attorney the United States Attorney of

the District of Columbia, and defendant Cleveland Grover Meredith, Jr. (Meredith), through his

attorney Paul y. Kiyonaga, (collectively “the parties”), and respectfully move for entry by this

Court of an order permitting the transfer of ownership and possession of certain property to

Meredith’s Power of Attorney Tyler Dixon (Dixon). The parties agree to this joint motion and

agree that the Court may take action without further proceedings. In support of the foregoing,

the parties agree and state:

       1.      On January 8, 2021, Meredith was charged by complaint with violations of 18

U.S.C. § 875(c) (Interstate Communication of Threats); D.C. Code § 7-2502.01(a) (Possession

of Unregistered Firearm); D.C. Code § 7-2506.01(a)(3) (Possession of Unregistered

Ammunition); and D.C. Code § 7-2506.01(b) (Possession of Large Capacity Ammunition

Feeding Devices). See ECF, 1.

       2.      Upon his arrest on January 8, 2021, Meredith waived his Miranda rights, and

provided FBI agents with consent to search his truck, and his trailer. See ECF 47, at 4. The FBI

agents found a Glock 19, nine-millimeter handgun, serial number 17US0037, and a model IWI
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Tavor X95 rifle, serial number T0062414, approximately 2,500 rounds of ammunition, and 10

large capacity ammunition feeding devices in Meredith’s trailer. See ECF 47, at 5, 6. Those

rounds included:


       *       Approximately 856 loose and boxed 9 mm cartridges;

       *       Approximately 320 loose, green tipped, LC17 rifle cartridges;

       *       Approximately 1001 loose, copper-color tipped, 5.56 mm rifle cartridges;

       *       Approximately 94 loose 30-30 rifle cartridges;

       *       Two 15-capacity 9 mm magazines containing approximately 29 total cartridges;

       *       Two 31-capacity 9 mm magazines containing approximately 62 total cartridges;

       *       One 50-capacity 9 mm drum magazine containing approximately 53 total

               cartridges;

       *       Five 5.56 mm rifle magazines containing a total of 118 cartridges (110

               copper-color tipped cartridges and 8 green tipped cartridges); and

       *       One 9 mm expended cartridge case.

       3.      A federal grand jury returned an indictment charging Meredith with the same

offenses on February 26, 2021. It returned a superseding Indictment on April 2, 2021, which

narrowed the charge under 18 U.S.C. § 875(c), alleging that Meredith threatened to injure (not

kidnap) Speaker of the House Nancy Pelosi. See ECF 1, 17, 28. On September 10, 2021,

Meredith pled guilty to one count of making threats in violation of Title 18 U.S.C. § 875(c). See

ECF, 46.     On December 14, 2021, this Court sentenced Meredith to 28 months’ imprisonment

and 36 months’ supervised release. Judgment was entered on December 14, 2021, and it was

filed with the Clerk of the Court on December 21, 2021. Dkt. 59. Meredith has served his term


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of imprisonment and was released from prison on December 30, 2022, and is currently on

supervised release in this matter.

        4.      As a result of his felony conviction, under 18 U.S.C. § 922(g)(1), Meredith

acknowledges that he can no longer possess any firearm or ammunition.

        5.      In Henderson v. United States, 135 S.Ct. 1780, 1787 (2015), the United States

Supreme Court held that “a court facing a motion like Henderson’s may approve the transfer of

guns consistently with § 922(g) if, but only if, that disposition prevents the felon from later

exercising control over those weapons, so that he could either use them or tell someone else how

to do so.” The Supreme Court advised that “[i]n considering such a motion, the court may

properly seek certain assurances: for example, it may ask the proposed transferee to promise to

keep the guns away from the felon, and to acknowledge that allowing him to use them would aid

and abet a §922(g) violation.” The Supreme Court acknowledged that “[e]ven such a pledge, of

course, might fail to provide an adequate safeguard, and a court should then disapprove the

transfer.”

        6.      Filed and incorporated into this motion is the Affidavit by Meredith in which he

affirms that he relinquishes all ownership and possessory rights in regard to the aforementioned

firearms and ammunition and requests that this Court issue an order to the FBI to transfer the

subject firearms and ammunition to Dixon with no undue delay, upon his demand. Meredith has

authorized Dixon to sell or transfer the firearms and ammunition to a third-party unknown to

Meredith.

        7.      Filed and incorporated into this motion is the Affidavit of Dixon and, in which he

affirms: (i) his knowledge that Cleveland Grover Meredith, Jr. may not possess, control, or direct

the use of the firearms; (ii) that if Dixon received the firearms and ammunition, he would
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exercise complete control over the firearms and ammunition, without having to resort to

Meredith’s direction or control; (iii) that if he received the firearms and ammunition, he would

not permit Meredith to direct or control the firearms; and that (iv) if he received the firearms and

ammunition, he would sell them to a third party, unknown to Meredith.

       8.      Dixon is over the age of 21 and is lawfully permitted to possess and own firearms.

Standard background checks were performed on him in April 2022 and did not disclose any

criminal history.

       9.      Dixon is a licensed attorney in Georgia, and a member of the Georgia bar and

presently works in Georgia.

       10.     Except as to those rights and obligations created by any order of this Court

granting the Motion, the parties each have agreed to unconditionally release and hold harmless

the other party, its departments, agencies, agents, officers, and employees, from any and all civil

claims, demands, damages, causes of action or suits, of whatever kind and description that might

now exist or hereafter exist by reason of or growing out of or affecting, directly or indirectly, the

seizure or release of the firearms.

       11.     In view of the Supreme Court’s decision in Henderson v. United States and the

representations of Meredith, and Tyler Dixon, the United States has no objection to the Court

granting the Motion. In the absence of such an objection and in view of the parties’ various

submissions, the parties agree that the Court may grant the Motion and has the discretion to do so

without holding an evidentiary hearing.




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                                  Respectfully submitted,

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